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                           EXHIBIT “A”
    Case 2:19-cv-03964-DDP-FFM Document 97-3 Filed 12/23/19 Page 2 of 3 Page ID #:890


todd toddhuntlaw.com

From:                              Dawson Morton <dawson@dawsonmorton.com>
Sent:                              Thursday, November 21, 2019 2:50 PM
To:                                todd toddhuntlaw.com
Cc:                                Vince Martinez
Subject:                           Re: additional contact with Plaintiffs in Better Produce case


The forms are marked to proceed pro se.

I’m happy to talk to you about the matter but I also think its going to need Court intervention.

Dawson Morton
dawson@dawsonmorton.com
404-590-1295




        On Nov 21, 2019, at 2:46 PM, todd toddhuntlaw.com <todd@toddhuntlaw.com> wrote:

        What purpose would that serve? This makes no sense. I’m guessing there is no one listed under “new
        representation.”

        Todd Christopher Hunt
        Law Office of Todd C. Hunt, APC
        7190 West Sunset Boulevard, No. 89
        Los Angeles, CA 90046
        (310) 994-0157

        From: Dawson Morton <dawson@dawsonmorton.com>
        Sent: Thursday, November 21, 2019 2:44 PM
        To: todd toddhuntlaw.com <todd@toddhuntlaw.com>
        Cc: Vince Martinez <vmartinez@twitchellandrice.com>
        Subject: Re: additional contact with Plaintiffs in Better Produce case

        They are Central District Form G-01— Request for Approval of Substitution or Withdrawal of Counsel. I
        assume that they were prepared by you or Vincent— they were clearly prepared by an attorney as its an
        English language Court form.

        Dawson Morton
        dawson@dawsonmorton.com
        404-590-1295




                On Nov 21, 2019, at 2:40 PM, todd toddhuntlaw.com <todd@toddhuntlaw.com> wrote:

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        Dawson,

        I have no idea what you are talking about. What -- or at least what type of -- Central
        District “form documents” are you taking about? When you state, “these new
        documents were prepared by counsel,” are you saying these forms (?) were prepared by
        your office or that you believe these are documents prepared by Vincent or by me?

        Todd.

        Todd Christopher Hunt
        Law Office of Todd C. Hunt, APC
        7190 West Sunset Boulevard, No. 89
        Los Angeles, CA 90046
        (310) 994-0157

        From: Dawson Morton <dawson@dawsonmorton.com>
        Sent: Thursday, November 21, 2019 2:28 PM
        To: todd toddhuntlaw.com <todd@toddhuntlaw.com>; Vince Martinez
        <vmartinez@twitchellandrice.com>
        Subject: additional contact with Plaintiffs in Better Produce case

        Todd and Vince:

        I have received additional documents procured from Plaintiffs which appear meant to
        interfere with the ongoing litigation and my attorney-client relationship. These are form
        documents from the Central District. It is apparent that these new documents were
        prepared by counsel and obtained by you and/or your clients. I find this quite
        concerning and believe it raises both bar violations (including Rule 4.2), contempt of
        court, as well as constituting tortious conduct. We will be seeking an order to show
        cause and a further protective order to stop this continued conduct. We will also seek
        sanctions against your firms and your clients as my repeated requests that you stop this
        course of conduct have not obtained any change in your clients’ conduct and now
        apparently have led to counsels’ involvement as well. I am disappointed that it has come
        to this, but the conduct has continued unabated for months despite my repeated
        requests that it stop. Even the Court’s own admonitions at the November 4 hearing
        were apparently not enough to alter Defendants’ course of conduct.
        Dawson Morton
        dawson@dawsonmorton.com
        404-590-1295




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